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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DON RUPPEL, individually and on behalf of all
others similarly situated,

                Plaintiff,

       vs.
                                                     Civil Action No. 16-cv-02444-KMK
CONSUMERS UNION OF UNITED STATES,
INC.,


                Defendant.



             DECLARATION OF JENNIFER M. KEOUGH REGARDING SETTLEMENT
                                 ADMINISTRATION

I, JENNIFER M. KEOUGH, declare and state as follows:

       1.       I am the Chief Executive Officer at JND Legal Administration LLC (“JND”). JND is a

legal administration services provider with its headquarters located in Seattle, Washington. JND has

extensive experience with all aspects of legal administration and has administered settlements in hundreds

of class action cases.

       2.       JND is serving as the Settlement Administrator in the above-captioned litigation (“Action”)

for the purposes of administering the Settlement Agreement preliminarily approved by the Court in its Order

Granting Preliminary Approval of Class Action Settlement Agreement, Certifying Settlement Class,

Appointing Class Representative, Appointing Class Counsel, and Approving Notice Plan (the “Order”)

dated July 27, 2018. The following statements are based on my personal knowledge and information

provided to me by other JND employees working under my supervision, and if called on to do so, I could

and would testify competently thereto.


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                                              EXPERIENCE

       3.       JND is one of the leading legal administration firms in the country, and the principals of

JND, including myself, collectively have over 75 years of experience in class action legal and

administrative fields. JND’s class action division provides all services necessary for the effective

implementation of class action settlements including: (1) all facets of legal notice, such as outbound

mailing, email notification, and the design and implementation of media programs, including through

digital and social media platforms; (2) website design and deployment, including on-line claim filing

capabilities; (3) call center and other contact support; (4) secure class member data management; (5) paper

and electronic claims processing; (6) calculation design and programming; (7) payment disbursements

through check, wire, Paypal, merchandise credits, and other means; (8) qualified settlement fund tax

reporting; (9) banking services and reporting; and (10) all other functions related to the secure and accurate

administration of class action settlements. Our systems, policies, and procedures have been recognized

by various publications, including the National Law Journal and the Legal Times, and most recently, the

New York Law Journal, for excellence in class action administration.

                           NOTICE AND ADMINISTRATION SERVICES

       4.       CAFA Notification. In compliance with the Class Action Fairness Act ("CAFA"), 28

U.S.C. § 1715, JND compiled a CD-ROM containing the following documents: Class Action Complaint

(with Exhibits), Notice of Motion for Preliminary Approval of Class Action Settlement, Declaration of

Joseph I. Marchese in Support of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement,

Class Action Settlement Agreement, forms of Class Notice (filed as exhibits to the Class Action

Settlement Agreement), Memorandum of Law in Support of Plaintiff’s Motion for Preliminary Approval

of Class Action Settlement, and Proposed Order Granting Preliminary Approval of Class Action

Settlement Agreement, Certifying Settlement Class, Appointing Class Representative, Appointing Class

Counsel, and Approving Notice Plan, which accompanied a cover letter (collectively, the "CAFA Notice

Packet").


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         5.       The CD-ROM was mailed overnight mail via Federal Express on April 19, 2018, to the

appropriate Federal and State officials identified in the attachment to the accompanying cover letter, a

copy of which is attached hereto as Exhibit A.

         6.       As of the date of this declaration, JND has received no response to the CAFA Notice Packet

from any of the recipients identified in paragraph five above.

         7.       Emailed Notice and Mailed Notice. On May 3, 2018, the Defendant provided JND

with a list of 583,106 persons identified as the Class Member List. JND entered the Class Member List

information into its proprietary database and prepared a data file for the initial mailing. Prior to mailing,

JND caused the addresses in the Class Member List to be updated using the National Change of Address

database ("NCOA") maintained by the U.S. Postal Service. A total of 9,291 addresses were found and

updated.
         8.       JND identified 894 duplicative records. JND removed these duplicative records from the

Class Member List, resulting in 582,212 remaining on the Class Member List.

         9.       On August 17, 2018, JND e-mailed a summary version of the Notice (the “E-mail Notice”)

to each of the 271,165 valid email addresses on the Class Member List. A sample of the E-mail Notice is

attached hereto as Exhibit B.

         10.      Of the 271,165 E-mail Notices that were sent, JND tracked 197,366 E-mail Notices that

were sent successfully and 73,799 that were deemed undeliverable.

         11.      Pursuant to the Settlement Agreement, JND reviewed the e-mail addresses for the

undeliverable E-mail Notice records and corrected any issues that may have caused the “bounce-back” to

occur.

         12.      On August 24, 2018, JND sent 48 E-mail Notices to corrected e-mail addresses. Of the 48

E-mail Notices sent, JND tracked 34 E-mail Notices that were sent successfully and 14 that were deemed

undeliverable.

         13.      On August 24, 2018, JND mailed the Postcard Notice and Claim Form (the “Postcard

Notice”) to each of the 311,134 persons where an email address was not available. On September 4, 2018,

JND mailed the Postcard Notice to each of the 73,716 persons where the E-mail Notice was not delivered

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successfully and a postal mailing address was available. A representative copy of the Postcard Notice is

attached as Exhibit C.

       14.     As of October 12, 2018, JND has received a total of 452 Postcard Notices returned by the

U.S. Postal Service with forwarding addresses. JND caused the class list to be updated with the new

addresses and Postcard Notices to be re-mailed to the updated addresses. As of October 12, 2018, JND

has received a total of 16,683 Postcard Notices returned by the U.S. Postal Service without forwarding

address information.

       15.     As of the date of this declaration, direct notice was successfully delivered to 565,536 persons

on the Class Member List, or 97% of the Settlement Class. Of the 565,536 persons on the Class Member List

who direct notice was successfully delivered, 197,369 persons received direct notice via E-mail Notice and

368,167 persons received direct notice via Postcard Notice.
       16.     Toll-Free Telephone Number. On August 24, 2018, JND established a settlement-

specific dedicated toll-free number, 1-888-337-9111, for Class Members to call for additional information

about the Settlement. Callers have the option to listen to an Interactive Voice Response (“IVR”) system,

or to speak with a live agent. As of October 12, 2018, JND has received 1,794 calls to the toll-free number.

       17.     Website.      On      August       6,     2018,      JND       established     a      website,

www.crmagazinesettlement.com, dedicated to this settlement to provide additional information to the

Class Members and to answer frequently asked questions. Viewers of the website can download the

Notice, Claim Form, Settlement Agreement, Preliminary Approval Order, Notice of Motion for

Attorneys’ Fees, Costs, Expenses, and Incentive Award, Declaration of Joseph I. Marchese in Support

of Plaintiff’s Motion, Declaration of Don Ruppel in Support of Plaintiff’s Motion, and Memorandum of

Law in Support of Plaintiff’s Motion. Visitors can also submit claims online. The web address was set

forth in the E-mail Notice, Postcard Notice, and Claim Form. As of October 12, 2018, the website has

received 29,347 visits.

       18.     Requests for Exclusion. The deadline for Class Members to request to be excluded from

the class was a postmarked deadline of October 4, 2018. As of the date of this declaration, JND has



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received 12 requests for exclusion. A list of the Class Members requesting to be excluded is attached

hereto as Exhibit D.

       19.     Objections to the Settlement.       The deadline for Class Members to object to the

Settlement was a postmarked deadline of October 4, 2018. As of the date of this declaration, JND has

not received any objections to the settlement.

       20.     Claim Forms. The deadline for Class Members to file a claim is a postmarked deadline

of January 17, 2019. As of the date of this declaration, JND has received 28,999 claim forms. JND will

continue the process of evaluating claim forms received and will continue to do so over the next few

months. These numbers are subject to change as JND continues our review of claims and since the filing

deadline has not yet passed. In addition, these 28,999 claims have yet to be validated or screened for

duplicates.
       I declare under the penalty of perjury pursuant to the laws of the United States of America that the

foregoing is true and correct.

       Executed on October 15, 2018 at Seattle, Washington.




                                                     JENNIFER M. KEOUGH




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